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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


JANE DOE,
                                                          Case No. C2-13-503
                                                          JUDGE GREGORY L. FROST
                                                          Magistrate Judge Abel
                     Plaintiff,

       v.


FRANKLIN COUNTY, OHIO,

                     Defendant.

                                          ORDER

       Defendant’s Objection to the Magistrate Judge’s July 26, 2013 Order (ECF No. 13) shall

come on for a non-oral hearing on August 30, 2013.




       IT IS SO ORDERED.




                                                     /s/ Gregory L. Frost
                                                     GREGORY L. FROST
                                                     UNITED STATES DISTRICT JUDGE
